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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner 6 cectdapi ee eteetciethinly

UNITED STATES DISTRICT COURT ©)
for the oe AFL SA
Middle District of Florida

Ocala Division

Case No. — 5.) -Av-3so2 Srce- Pel
(to be filled in by the Clerk's Office)

Geen Vingon
: Plainiiffts)
(Write the full name of each plainil{{' who ts filing this complaint.
Uf the names of all the plaintiffs cannot ful in the space above,
please write “see attached" in the space and attach an additional
page with the full list of names.)
-V-

Fedccal Buczan 6f Pcrcons

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fil in the space above, please
write “see attached” in the space and attach an additional page
with the full list ofnames. Do not include addresses here.)

 

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COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Prisoner Complaint)

 

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should nof contain; an individual’s full social
security number or full birth date; the full name ofa person known to be a minor; or a complete financial account
number. A filing may include oniy: the iast four digits of a social security number; the year of an individual's
birth; a minor’s initials; and the last four digits of a financial account number,

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk's Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis.

 

 

 

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Pro Sc 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Priso nes)

L The Parties to This Complaint

 

A The Plaintiffs)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if
needed.

Name rem, Rasen
All other names by which .

you have been known: Grace

 

 

 

 

 

ID Number \e2toT - G64
Current Institution USe-2. Co\eunan
Address PO Boy ine
Coleman EL Ga50\
City State Zip Code

B The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation, Make sure that the defendant(s)
listed below are identical to those contained in the above caption. For an individual defendant, include
the person’s job or title (iknown) and check whether you are bringing this complaint against them in their
individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. 1

 

 

 

 

 

 

 

 

 

 

Name Coducel Boras of po tEanS

Job or Title (if frown) \

Shield Number \

Employer \

Address B4o N-€. 54 BRevrace
Coleman _ _FL Se5al

City State Zip Code
[_] individual capacity (ortciat capacity
Defendant No, 2 - at

Name R ¢ ~ Chealh aw

Job or Title (ifknown) ° Wr vaden =

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Employer Fedem\ Burra) OF YorconS

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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Ri Prisoner ss
Defendant No. 3
Name in, Ven tle
Job or Title (known) Mektoal Pocket
Shield Number Nk
Employer Ketem\ Poctay of Prisons
Address Glo NE SU Verrice
Coleman EL 339%
City State Zip Code
aiid capacity C] Official capacity
Defendant No. 4 i
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Shield Number VU A
Employer Eederml Boreas of CassovtS
Address Bite Ne SiY™ Tertace
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City ‘State Zip Code
Individual capacity C] Official capacity

Under 42 U.S.C, § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws).” Under Bivens y, Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

I. Basis for Jurisdiction

A. Are you bringing suit against (check all that apply):
(S Federal officials (a Bivens claim) 2 g U.S . C . \as\ ) L\-¢ o

[_] State or local officials (a § 1983 claim)

B. Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal Jaws].” 42 U.S.C, § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

 

c, Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
officials?

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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights {Prisonez) =a

 

Section 1983 allows defendants to be found liable only when they have acted “under color of any
Statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
federal law, Attach additional pages if needed,

At VS.C. (B3\ (Kedecal question)

 

I. . Prisoner Status

Indicate whether you are a prisoner or other confined person as follows (check all that apply):

O@OOOO

Pretrial detainee
Civilly committed detainee

Immigration detalnee

Convicted and sentenced state prisoner
Convicted and sentenced federal prisoner
Other (explain)

 

IV. Statement of Claim

State as briefly as possible the facts of your case, Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include

- further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
Statement of each claim in a separate paragraph. Attach additional pages if needed.

A.

B.

If the events giving rise to your claim arose outside an institution, describe where and when they arose.

NIA

If the events giving rise to your claim arose in an institution, describe where and when they arose.

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Pro Se 14 {Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

Cc, What date and approximate time did the events giving rise to your claim(s) occur?

Sve pape |2 ~ 2\

 

D, What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
Was anyone else involved? Who else saw what happened?)

‘ Sm Page (2~ a\

 

Vv. Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive,

‘

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VIL ~~ Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

Ye (age oA

 

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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner) _ _ et

VII. Exhaustion of Administrative Remedies Administrative Procedures

 

The Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § 1997e(a), requires that “[nJo action shall be brought
with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confined
in any jail, prison, or other correctional facility until such administrative remedies as are available are
exhausted.”

. Administrative remedies are also known as grievance procedures. Your case may be dismissed if you have not
exhausted your administrative remedies,

A,

Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

EN ves
[_] No

If yes, name the jail, prison, or other correctional facility where you were confined at the time of the
events giving rise to your claim(s),

USP (eleman

 

Does the jail, prison, or other correctional facility where your claim(s) arose have a grievance
procedure?

YJ Yes
["] No

C] Do not know

Does the grievance procedure at the jail, prison, or other correctional facility where your claim(s) arose
cover some or all of your claims?

A ves

C] Do not know

If yes, which claim(s)?

ALLE

 

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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner) _
D. Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose

concerning the facts relating to this complaint?

Cvs — Reqvested wut never tecetved
BA no Necesoam fens y WAS hincookened

If no, did you file a grievance about the events described in this complaint at any other jail, prison, or
other correctional facility?

C Yes
LNo

If you did file a grievance:

1. Where did you file the grievance?

\

2. What did you claim In your grievance?

VS

v -

3. What was esult, iflany?

 

4. What steps, if ank did you take to appeal that decision? Is the grievance process completed? If
not, explain why not. (Describe all efforts to appeal to the highest level of the grievance process.)

 

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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Ri Prisoner

F, If you did not file a grievance:

1, Ifthere are any reasons why you did not file a grievance, state them here:

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2. Ifyou did not file a grievance but you did inform officials of your claim, state who you informed,
when and how, and their response, if any:

Continsid 01 foae

 

G. Please set forth any additional information that is relevant to the exhaustion of your administrative
remedies,

 

(Note: You may attach as exhibits to this complaint any documents related to the exhaustion of your
administrative remedies.)

VOI. Previous Lawsuits

The “three strikes rule” bars a prisoner from bringing a civil action or an appeal in federal court without paying
the filing fee if that prisoner has “on three or more prior occasions, while incarcerated or detained in any facility,
brought an action or appeal In a court of the United States that was dismissed on the grounds that it is frivolous,
malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
danger of serious physical injury.” 28 U.S.C. § 1915(g).

To the best of your knowledge, have you had a case dismissed based on this “three strikes rule”?
NM Yes
_] No

If yes, state which court dismissed your case, when this occurred, and attach a copy of the order if possible.

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A.

Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
action?

[_] Yes

KLNo

If your answer to A is yes, describe each lawsuit by answering questions | through 7 below. (If there is
more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

1. Parties to the previous lawsuit
Plaintiff(s)
Defendant(s) |

 

2. Court (iffederal court, "7 the district; i" court, name the county and State)

 

3. Docket or index ee

 

4, Name of Judge assigned to\your case

 

 

5. Approximate date\of filing lawsuit

 

6. Is the case still pending?

CJ Yes
["]No

If no, give the approximate date of disposition.

 

7. What was the result of the case? (For example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)

 

Have you filed other lawsuits in state or federal court otherwise relating to the conditions of your
imprisonment?

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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)
Sey

iN Yes
[-] No

D. If your answer to C is yes, describe each lawsuit by answering questions 1 through 7 below. (Uf there is
more than one lawsuit, describe the additional lawsuits on oF page, using the same format.)

 

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Parties to the previous lawsuit haste. “4 £.U

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Plaintiff{s) \alec Hate EES 6 vue pw a Yar on 3 -
Defendant(s)

 

Court (if federal court, name the district; if state court, name the county and State)

 

Docket or index number

 

Name of Judge assigned to your case

 

Approximate date of filing lawsuit

 

Is the case still pending?

CJ Yes
["] No

If no, give the approximate date of disposition

 

What was the result of the case? (For example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)

 

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IX. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a

‘ nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have

evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11,

A.

B.

For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: C ~ | - PD2%

 

 

 

 

 

 

 

 

 

 

Printed Name of Plaintiff Seteny Pusey
Prison Identification # leZse) - SoH}
Prison Address fo Box (034
Coleman FL S252)
City State Zip Code
For Attorneys
Date of signing:
Signature of Attorney \\
Printed Name of Attorney \ | \ Pa
Bar Number \
Name of Law Firm \ \ \

 

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Address \ | \ VO

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Page II of II
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= Tampa Bay Times SUBSCRIBE

NEWS / FLORIDA

Lawsuit settled in which 15 women
alleged sexual abuse at Florida prison

The 15 women suing said officers had sexually assaulted and
abused them for years. Now they've reached a settlement

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Caleman Federal Correctional Complex in Coleman, Fl, in Sumter County. [Times (2001) }

 

Published May Fi
‘Updated May 6

The United States has settled a lawsuit with 15 women who said correctional
officers at a federal prison in/Florida repeatedly sexually abused them.

The lawsuit contended that Bureau of Prisons officers at Federal Correctional

Complex Coleman in Sumter County sexually abused female inmates for years and

threatened the women if they didn’t’comply. The women feared that if they came

forward they'd be sent to another federal facility far from their families,

interrupting the education and work programs they had at Coleman, which is the
Jargest federal prison in the U.S.

Settlements were approved by the Attorney General's office on Monday. Three of
the women received $1.26 million between them, said their lawyer, James
DeMiles. Bryan Busch, who represented 11 women, and Phil Reizenstein, who
represents one woman, said they did not want to comment on the settlement
amounts until funds were released.

4 * @
Cy io ttachment A
https://www.tampabay.com/news/florida/2021/0 awsuit-settled-in-which-15-women-alleged-sexUlal-abuse-at-florida-prison/#:~:text=The United Sta... 1/6
9/17/2021 Case 5:21-cv-00322-SPCPRE sq8etunien tn rnalros prepa Page ee sPus PagelD 26
= Tampa Bay Times

Six of the eight accused officers admitted to having sexual contact with inmates,
according to a July document filed by the United States in response to the
complaint. But no officers were prosecuted. They instead retired or resigned, and
some still receive benefits from their federal employment.

“I would remain optimistic and hopeful that the powers that be take a hard look at
the numerous officers who were named in that indictment,” DeMiles said.

He said he felt the amount given to his clients was fair. Settlements for some of the
women, some whom are currently still incarcerated there, were higher than the
government had initially allocated to pay. If the case had not settled, it would have

gone to trial next year.

SPONSORED CONTENT

MD: If You Have Toenail
Fungus, Do This Immediately
(See More)

By ClearNails Plus

 

Joe Rojas, the southeast regional vice president for the workers union, AFGE
Council of Prisons, said the case was a black eye for an otherwise hardworking and
upright staff. He said it’s a sentiment other correctional officers share.

“I’m just sad because honestly those officers got away with a crime,” Rojas said.

Lauren Reynolds received $600,000 for her settlement - but she said it wasn’t
about the money. Reynolds, a former inmate at Coleman, had hoped to go to trial
and help spark prison reform. She said she wanted to hold the Bureau of Prisons
accountable for the abuse she and others experienced.

But as settlement conferences dragged on, the effects of her trauma worsened.
Reynolds said she was raped by a correctional officer at Coleman for six months
while serving time there. As the case slowly made its way through the courts, she
said she couldn’t sleep through the night. She began taking medication to try to
help.

“This dragging on, it’s like you're still living it,” Reynolds said. “It’s not the closure
I wanted but it’s still closure.”

UP NEXT: Florida teen charged as adult in rigged homecoming election

ROMY ELLENBOGEN

https://www.tampabay.com/news/florida/2021/05/05/lawsuit-settled-in-which-15-women-alleged-sexual-abuse-at-florida-prison/#:~:text=The United Sta... 2/6
5/17/2021 Petition - Legal Defense for Transgender - Change.org
Case 5:21-cv-00322-SPC-PRL Document1 Filed 06/16/21 Page 27 of 45 PagelD 27

change.org

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Petition details Comments Updates Eyl wo i+ B

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Jeremy Grace Pinson started this petition to White House

Federal prisoner Jeremy Grace Pinson is a female inmate housed at the U.S. Penitentiary in Coleman,
Florida. During the Trump administration she filed a lawsuit seeking gender-affirming surgery. Shortly
thereafter, the Trump administration moved to dismiss the lawsuit and succeeded resulting in years of
appeals, changed BOP policy to be more harmful to all it's Transgender inmates, and transferred Grace
to a more violent prison.

Start a petition of your own

Start a petition of your own

 

 

 

This petition starter stood up and took action. Will you do the same?
Start a petition

Updates

2 months ago

200 supporters

3 months ago

Jeremy Grace Pinson started this petition

Reasons for signing

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Case 5:21-cv-00322-SPC-PRL Document1 Filed 06/16/21 Page 29 of 45 PagelD 29

change.org
Recipient: White House
Letter: Greetings,

Legal Defense for Transgender
Case 5:21-cv-00322-SPC-PRL Document1 Filed 06/16/21 Page 30 of 45 PagelD 30

Signatures

Name

Jeremy Grace Pinson
Skyler Harper
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Jxda Frazier

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tell- oh yeahhhh

Lillie Boyd
Margaret Cuneo
Charlee Stewart
Dammy A

Lily Ho

Francis Hernandez
Brady McGarry
Zoe Johnson
Kasey Sek

Josiah Bell

Ben Dover

Julian Grady

Izzy Bartholomew
Narrie J

Abigail Deza

Location
US

Adrian, MI
Severn, US
Bronx, US

Independence, US

Clinton, US

Palm Harbor, US
Leopold, US
Staten Island, US
Georgetown, US
Austin, US
Seattle, WA

West Lafayette, US
Fredonia, US
Fayetteville, US
Bolingbrook, US
Brooklyn, US

US

Slidell, US

Springfield, US

Date

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Case 5:21-cv-00322-SPC-PRL Document1 Filed 06/16/21 Page 31 of 45 PagelD 31

Name

Megan Selzler
Avarie Norman
Isabella Ralowicz
Madalyn Elliott
Debra Pinson
Shakayla Thomas
Marykate Barron
Nora Riot

Haley Madison's
Triana Nava
Morgan Kelly
Bethlem Tekeste
Courtney Thomas
Avery Armbrust
PAUL ANDERSON
Jean Chagnon
Ale Reyes
Brenda Garcia
Gaby Hernandez
James Kinnley
Molly LaBar

Athena Norindr

Location
Rosemount, US
Marietta, US
Lowell, MA
Chicago, US
Midwest City, OK
Compton, US
Holden, US
Akron, US
Dallas, US

East Chicago, US
Harrison, US
Lorton, US

Oak Ridge, US
Devils Lake, US
US

Montréal, US
Houston, US
Los Angeles, US
Decatur, US
Billings, US
Clifton Park, US

Haltom City, US

Date

2021-03-02

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Case 5:21-cv-00322-SPC-PRL Document1 Filed 06/16/21 Page 32 of 45 PagelD 32

Name

Carl Latigue
Estrella Martinez
Hannah Anderson
jamie ketchum
Hagime Hinata
Mimi Rivers
Nadia Barrera
Elaine Mitchell
Tesla Short Bull
Dtanbi Ikeda
Camili Dominguez
Avocad@ Chan
Anderson's Brady
Makenzie Lanzo
Maia Jeffers
Elizabeth Wood
Melanie White
Samea Francis
Tyshieka Green
Angela Bert
Lindsey Stehr

ZOEC

Location
Houston, US
Houston, US
Albuquerque, US
Anchorage, US
Northridge, US
Marryland, US
San Antonio, US
Vadito, US
Pierrie, US

Pearl City, US
San Diego, US
Austin, US
Irvington, US
Fairview, US
Midlothian, US
Salt Lake City, US
Jonesboro, US
Bloomfield, US
Washington, US
Houston, US
Windermere, US

Chicago, US

Date

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Case 5:21-cv-00322-SPC-PRL Document1 Filed 06/16/21 Page 33 of 45 PagelD 33

Name

Sarah Jane
Racoon Artz
Amanda Chhoeuy
Rubi Gutierrez
Crystal Garcia
DG

Abbigail Patton
Jaiden Raposa
Anaya Cooksey
Allie Hutson
Danny Ververs
Andrea Rios
erica griffiths
Ana Banegas
Pedro Guzman
Analise Aleman
Ann McDonald
Leslie Cortes
Cameron Casais
Lindsey Oberman
Jed Juliano

Brianna Anderson

Location
Augusta, US
Austin, US
Attleboro, US
Winchester, US
Phoenix, US
Braintree, US
Bauxite, US
Wakefield, US
Las Vegas, US
Johnson City, US
Denville, US
Chandler, US
Beaverton, US
Grand Prairie, US
Clifton, US

Las Vegas, US
Escondido, US
Vancouver, US
Toms River, US
Riverbank, US
Toms River, US

Galesburg, US

Date

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Case 5:21-cv-00322-SPC-PRL Document1 Filed 06/16/21 Page 34 of 45 PagelD 34

Name

La'Dasmeonnia Branham

O. Dazai

Madeline Drozdowski

Lexi O'Donnell
Jael-lynn Jones
Brooke Letson
Francisco Alvarez
Roriii fischer
Na’ahwah Fru
alynna granados
katie kramer
maddy schaffer
Maziah rose

Han Fain

Chloe Camburn
Caroline Mullaney
Ashley Bustamante
Neishly Cruz
Alicia Valdez

Ava Zamora
jennifer rosario

Natalie Naylor

Location

Gallatin, US

US

Scottsdale, US
Brick, US
Mechanicsville, US
Chicago, US
North Las Vegas, US
Lincoln Park, US
Temple Hills, US
Minneapolis, US
Concord, US
Lakeville, US
Moreno Valley, US
Wylie, US

Hyde Park, US
Ellicott City, US
Chicago, US
Houston, US
Wichita, US
Pasadena, US
Canyon Country, US

Scituate, US

Date

2021-03-07

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Name

MB

elise laviola
Malia Nichols
Jadyn Phillips
sierra springer
Alanis Hernandez
angela fraustro
Angelina Gomez
Emily Jimenez
Ava Ava

Ruby Burton
Ariyah Scott
Jocelin Santibafhiez Flores
BRENDA PORTER
Pari Moore
Andrew Lieb
Daniel Guijarro
Laura Modica
Sara Aras
Damien Richards
Savannah Smith

Akira Ryoku

Location

New York, US
New Canaan, US
California, US
Hephzibah, US
Columbus, US
Savannah, US
Austin, US
Kirkland, US
Austin, US

Apo, US
Denver, US
Beaver Falls, US
Minneapolis, US
Brookhaven, US
Henderson, US
Lumberton, US
Spring, US
Leesburg, US
Somewhere, US
Cleveland, US
Burns, US

Los Angeles, US

Date

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Case 5:21-cv-00322-SPC-PRL Document1 Filed 06/16/21 Page 36 of 45 PageID 36

Name

Markelys Arias
TaNya Monae
Valeria Vega
Jiselle Floyd

Im Hungry
Jessica Zarate
Amber Burton
Sarah Harper
Heidi P

Kayleigh Hankin
Kim Hamilton
Diamond Sparkle
Janae Balfour
Gollagal Mcfliinn
Heather Egry
Jamie Gibbons
Nicole Servetnik
Kay P

Tim Maurer
Ruth Porter
Chrystal Ford

Kella Stephanie

Location
Lawrence, US
Tarboro, US
Santa Ana, US
Clinton, US
Philadelphia, US
Houston, US

Van Buren, US
Vineyard Haven, US
Los Angeles, US
Portsmouth, US
Midwest City, US
US

Seattle, US
Litchfield Park, US
Schenectady, NY
Faribault, US
South Hadley, US
Tampa, US
Anaheim, US
Greensboro, US
Birmingham, US

Beacon, US

Date

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Name

Madison Walker
Kourtney Mitchell
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Elm Woodson
Kaylee Griffin
Christian Cole
Samantha Brown
Barbara Brugger
Akahsha Hinojosa
Elier Reyes-Morales
Ivy Foster

bunny s

juliana ayers
Maria Patino
Chloe McDonald
Sarah Jimenez
Ellie Dudek
Sandra Wernsdorfer
Raquel Alston

Eva Barber

Franklyn Gutierrez

Location
Summerville, US
Houston, US
Atlanta, US
Appleton, US
Lawrenceville, US
Brookhaven, US
Belleville, US
Chicago, US
Herriman, US
Alice, US
Greensboro, US
Mobile, US
Dana, US

Glen Cove, US
Joliet, US
Riverdale, US
Houston, US
Saratoga Springs, US
Hilton, US
Franklin, US
Tulare, US

Charlotte, US

Date

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Case 5:21-cv-00322-SPC-PRL Document1 Filed 06/16/21 Page 38 of 45 PagelD 38

Name

Kady cruz
nirayana rodriguez
Tanurit Bhandal
Kendell Tucker
Samia Lawrence
Mya Pietila

Sarah Weber

Vel Rivera

Daniella Israil
genesis Camilo
Ann Roewe

Darcie Fox

Zoey Cupps
Brooklyn Valentine
Leiah Pak

Esayass Zemariam
Teresa Graciano
Brianna poss
Elizabeth Villegas
Ava Andrews
Isabel Holliday

Ty Stallins

Location

San ardo, US
Hartford, US
San Marcos, US
Newark, US
Meriden, US
Duluth, US
Bedford, US
Bronx, US
Bayside, US
Trenton, US
Olathe, US
Cicero, US
Mancelona, US
Dallas, US
Fullerton, US
Washington, US
Fontana, US
Cleveland, US
Bronx, US
Cleveland, US
Tucson, US

Richmond, US

Date

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Case 5:21-cv-00322-SPC-PRL Document1 Filed 06/16/21 Page 39 of 45 PagelD 39

Name

Alexis Downs
Ryan Thompson
Jasmine Escamilla
Laila Reynolds
Kellynne Paaloalo
Luz Gomez

Demi Adenodi
Addison Maher
Lauryn McConnell
alexandra klein
milana kochak
sid Ponciroli
pearl gson

mad sky

Aleida Berumen
Vaughn Brumer
Liliana Silva
Allison Velazquez
Josephine Chan
Francheska Febres
Jaden Stovall

Tess Myth

Location

Austin, US

Upper Marlboro, US
Corpus Christi, US
Jacksonville, US
Alliance, US
Fresno, US

Maple Grove, US
Middleton, US
Tulsa, US
Lansing, US
Altamonte Springs, US
St. Louis, US
Oakland, US
Philadelphia, PA
Channelview, US
Fort Thomas, US
Stafford, US
Yonkers, US

New York, US
Matthews, US
Detroit, US

Saginaw, US

Date

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Name Location Date
laura stukes Midwest City, US 2021-03-10

Anais Campbell Hollywood, US 2021-03-10
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U.S. Department of Justice

Federal Bureau of Prisons
Consolidated Legal Center (CLC) Atlanta

 

 

United States Penitentiary
Atianta, GA 30315

April 30, 2021

Jeremy Pinson #16267-064
USP Coleman II

P.O. Box 1034

Coleman, FL 33521

Re: Administrative Claim TRT-SER-2021-03377

Mr

Personal Injury and Property: $425,000
CERTIFIED NUMBER 7020 2450 0000 2753 1264

Dear Claimant:

Your above referenced tort claim has been considered for administrative review

pursuant to 28 C.F.R. § 0.172, Authority: Federal Tort Claims and 28 C.F.R. Part 14,
Administrative Claims Under Federal Tort Claims Act.

Your claim is denied. This memorandum serves as a notification of final denial
under 28 C.F.R. § 14.9, Final Denial of Claim. If you are dissatisfied with our agency's
action, you may file suit in an appropriate U.S. District Court no later than six months
after the date of mailing of this notification.

Sincerely,

      

J. fatease Bailey-Close
CLC Leader / Supervisory Attorney
CLC Atlanta

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Case 5:21-cv-00322-SPC-PRL Document1 Filed 06/16/21 Page 42 of 45 PagelD 42

U.S. Department of Justice
Federal Bureau of Prisons
Federal Correctional Complex
P.O. Box 1029

Coleman, Florida 33521-1029

 

 

MAY 10, 2021

JEREMY PINSON

Reg. No. 16267-064

FCC COLEMAN CLP

P.O. BOX 1034 : ‘
COLEMAN, FL 33521

Re: Administrative Claim #TRT-SER-2021-04688
Dear Claimant:

This acknowledges receipt of an administrative tort claim you are submitting for filing wherein
you allege personal injury, damage, or death. The claim was accepted for filing on April 16,
2021, by the agency involved in your personal injury/property loss. The Government is afforded
six months from the date the claim is accepted for filing to make a final disposition regarding
your claim. Therefore, an answer to your claim will be mailed on or before October 15, 2021.

It is your responsibility to keep this office apprised of your present address.

If not included with your claim, you will need to provide a complete copy of all records (do not
send originals as they will not be returned) in your possession relating to this claim as well as
a detailed description of the events surrounding the alleged loss. You are advised that failure to
provide this information may result in delay in processing, or prejudice the outcome of your
claim.

oleman Supervisory Attorney

 

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Exhibit P
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California

HEN SENATE BILL 132 TOOK EFFECT

January 1, 2021, protections promised
by the federal Prison Rape Elimination Act
of 2003 (PREA) were finally guaranteed
by law to over 1,000 inmates held by the
California Department of Corrections and
Rehabilitation (CDCR) who are “transgen-
der, gender-nonconforming, non-binary,
intersex, or (have) symptoms of gender
dysphoria,” according to a report by the Bay
Area Reporter.

The new law allows such prisoners
in California to request housing in con-
formance with their gender identity. But
in other state systems, the battle rages
on, usually in skirmishes over whether a
trans prisoner has had gender-conforming
surgery, which most cannot afford anyway.
So in states like Texas, all trans men are
incarcerated with cisgender women, and all
trans women with cisgender men.

A February 2020 investigation by
NBC News estimated that nearly 5,000
trans prisoners were being held in prisons
across the U.S. But it could confirm just
15 who were housed in conformance with
their gender identity — 13 trans women
held with female prisoners and two trans
men held with male prisoners. In the Texas
Department of Criminal Justice (TDC)),
all 891 trans women are held with male
prisoners, and all 89 trans men are held
with female prisoners.

The problem, advocates say, is not with
the law but with its lack of teeth. Since
PREA was implemented in 2012, it has
required prison systems to house trans pris-
oners where they will feel safest. But the law
also leaves prison officials broad discretion
in implementing this requirement.

California’s new law, signed in Decem-
ber 2020 by Governor Gavin Newsom, is
the culmination of a years-long effort by
its sponsor in the state General Assembly,
Democratic state Senator Scott Weiner.
Known as the Transgender Respect, Agency
and Dignity Act, it not only promises trans
prisoners a choice in where they are housed,
it also requires CDCR staff to record and
use their preferred pronouns and honorifics.

But the issue goes beyond respect —
it cuts to the heart of prisoner safety. In

April 2021

by Ed Lyon

Texas, for example, though TDC] forces
its prisoners to view a PREA video and
encourages them to submit anonymous
reports of PREA violations, the results
can work against trans prisoners, who are
often locked in administrative segrega-
tion — “ad seg” — for their protection
while their abusers are free to roam the
general population and victimize others.
In some cases, false PREA reports have
been anonymously filed by prisoners to get
enemies locked up in ad seg, costing them
jobs, housing assignments, craft shop and
college class attendance.

“This makes me wonder who is
PREA serving,” said Mateo De La Torre,
of LGBTQ prison rights organization
Black and Pink, “and who is being held
accountable.”

Protests against housing trans prison-
ers in accordance with their gender identity
often include concerns about forcing cis-
gender women to shower with trans women.
But PREA actually requires that trans
prisoners be allowed to shower alone — for
their own protection.

As detailed in an August 2020 Truthout
report, trans women prisoners are “more
likely to be sexually assaulted than cisgender
men’ by prisoners as well as prison staff —
in the case of Black trans women, “13 times
more likely.” Fifty percent of those surveyed
also responded “fearing for their safety if
they report harassment, discrimination or
violence,”

For Carmen Guerrero, a 48-year-old
trans woman sentenced to CDCR’s Kern
Valley State Prison after the 1995 murder
of her 38-year-old lover, Mary Perkins, the
protection provided by California’s new
law didn’t arrive soon enough. In 2013,
she was tortured and murdered by her
cisgender male cellmate, Miguel Crespo,
who had promised staff he would kill her
if they forced him to share her cell. He was
sentenced to death for the crime in 2019.

Syiaah Skylit, 30, a Black trans woman
assigned to Kern Valley in May 2019,
witnessed prisoner David Brieby attack
another trans woman prisoner and testified
at his trial for attempted murder. Just 11
months later, after a trip to ad seg, Skylit

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‘ :
was assigned to the same housing area as

Brieby. He assaulted her on April 10, 2020.

After she filed a PREA complaint,
on April 15, 2020, Skylit was attacked
by another prisoner and then sexually as-
saulted with a baton by a guard. She filed
a PREA complaint against the corrections
officer, too. Like Smith, she was not offered

a victim advocate or support person. As of}

August 6, 2020, she had not received any

documentation related to the investigation. |

She told her lawyers, “I’m not going to
make it out of this prison alive if I’m left
here any longer.”

Despite the PREA prohibition against
trans and cisgender prisoners showering
together, San Quentin Prison officials
made prisoner C. Jay Smith, a Black trans
woman, suffer leers, jeers and stalking from
cisgender men she was forced to shower
with. Smith was raped in 2013 but was not
able to see her assailant. In 2018, a prisoner
exposed himself to her while housed in an
adjacent cell, and she recognized him by his
genitalia. Smith’s requests to staff to move
one or the other of them were refused.

After filing a formal PREA complaint
on March 16, 2019, Smith — like Skylit —
was retaliated against by prison staff with
assaults, harassment and false disciplinary
charges. One of those escalated to a criminal
case that was later dismissed. Smith was then
transferred to another facility, where she is
housed with women, but where she does not
have the rehabilitative and parole-oriented
programming available to her before.

Despite these outrages, Wiener says he
was the one subjected to death threats for
the bill he sponsored to help trans prisoners.
Some came from adherents of the QAnon
conspiracy theory, along with accusations
that he was promoting pedophilia. But
similar charges came from other public offi-
cials, including fellow state Senator Melissa
Melendez, a Republican, who tweeted after
former Governor Jerry Brown signed a state
law protecting trans students in 2013, “Say
goodbye to your daughters’ innocence and
privacy.”

Sources: NBC News, Bay Area Reporter,

Sacramento Bee, truthout.org

Prison Legal News
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